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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION

 WILMINGTON SAVINGS FUND
 SOCIETY, FSB,

         Plaintiff,

 v.                                                              Case No: 8:15-cv-2831-T-36TGW

 BUSINESS LAW GROUP, P.A., LM
 FUNDING, LLC and BRUCE RODGERS,

       Defendants.
 ___________________________________/
                                    ORDER

         This cause is before the Court on Defendants' Motion to Seal the Deposition Transcript of

 Joshua Donham, as Corporate Representative of LM Funding, LLC and Business Law Group, P.A.

 and Confidential Exhibits (Doc. 88). Specifically, Defendants move the Court for permission to

 file the deposition transcript of Joshua Donham, as Corporate Representative of LM Funding, LLC

 and Business Law Group, P.A. and Exhibits 2 (the Purchase Agreement) and 7 (the Owners List)

 to that transcript under seal.

         Upon consideration, the Court finds that the deposition transcript of Joshua Donham, as

 Corporate Representative of LM Funding, LLC and Business Law Group, P.A. and Exhibits 2

 (the Purchase Agreement) and 7 (the Owners List) to that transcript contain confidential and

 sensitive information that should not be made public. Therefore, the Court directs the Clerk to file

 the deposition transcript of Joshua Donham, as Corporate Representative of LM Funding, LLC

 and Business Law Group, P.A. and Exhibits 2 (the Purchase Agreement) and 7 (the Owners List)

 to that transcript under seal.
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        It is hereby ORDERED:

        1.     Pursuant to Local Rule 1.09(a), Defendants' Motion to Seal the Deposition

               Transcript of Joshua Donham, as Corporate Representative of LM Funding, LLC

               and Business Law Group, P.A. and Confidential Exhibits (Doc. 88) is GRANTED.

        2.     The Clerk is directed to file the deposition transcript of Joshua Donham, as

               Corporate Representative of LM Funding, LLC and Business Law Group, P.A. and

               Exhibits 2 (the Purchase Agreement) and 7 (the Owners List) to that transcript

               under seal.

        DONE AND ORDERED in Tampa, Florida on September 8, 2016.




 Copies to:
 Counsel of Record and Unrepresented Parties, if any




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